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IN THE UNITED STATES DISTRICT COURT FOR
TI-IE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

)
FIRECLEAN, LLC, )
)
Plaintiff, )
)
v. ) Civil Action No. l:l6-cv-293-TSE-JFA

)
GEORGE FENNELL and STEEL )
SHIELD TECI-INOLOG]ES, INC., )
)
Defendants. )
)

ORDER

The matter is before the Court on the parties' agreement that this matter be dismissed with
prejudice as resolved pursuant to Rule 41 (a); accordingly it is hereby
ORDERED that this matter is Dismissed With prejudice; and it is further
ORDERED that each party shall bear its or his own attomey’s fees and costs.
The Clerk is directed to send a copy of this Order to all counsel of reeord.
Alexandria, Virginia
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/ / '

Date:

  
  

 

'l`.i S; Ellis, III
United States strict Judge

